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United States District Court
HARSHALS S£RW~€E N/ 11(
Northern District of HSeXUALLAS. tian

Dallas Division , ~
2818.11111~! 13 2~1'1
UNITED STATES OF AMERlCA

V.
TiFFANY NiCoLE GILLIAM

SEALED WARRANT FOR ARREST

CASE NUMBER: 3:18-€1-00267'B

To: The United States Marshal MAG. CASE NUMBER:
and any Authorized United States Officer

 

YOU ARE HEREBY COMMANDED to arrest TIFFANY NICOLE GlLLlAl\/l

and bring him or her forthwith to the nearest magistrate judge to answer a(n)

|:] Sealed Indictment 1:| Information l:] Cornplaint [:] Order of court [:| Violation Notice [:1 Probation Violation Petition
charging him or her with:

Conspiracy to Possess with lntent to Distribute 50 grams or more of Methamphetamine; Aiding and Abetting Possession with Intent to
Distribute a Controlled Substance

in violation of Title 21 ; 18
United States Code, Section(S)

346 and §§ 841(a) and (b)( 1)(13)(vin); 341(a) and (b)(i)(c:) and 2

Karen Mitchell, U.S. District Court Clerk dyde : § ,;¢‘ w

Name and Title of Issuing Oft`icer Signattire of Issuing Off'iéer

 

 

United States I\/Iagistrate Judge Rebecca Rutherford 5/31/2018 _Dallas, TX
Judge Date Locatlon
s/S. Shelby

 

(By) Deputy Clerk

 

RETURN

This warrant was received and executed with the arr st of t e above-named defendant at

 

 

    

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